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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 0:20-CV-61872-AHS
  ALAN DERSHOWITZ,

        Plaintiff,
  v.
  CABLE NEWS NETWORK, INC.,

        Defendant.
  _______________________________/

                DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO EXTEND
                      PAGE LIMITATION FOR MOTIONS IN LIMINE

         Defendant, CABLE NEWS NETWORK, INC. (“CNN”), by and through its undersigned

  counsel, hereby seeks leave of Court to exceed the page limitations set forth in Local Rule 7.1(c)(2)

  and this Court’s Trial Order, as amended, for its Motions in Limine, and, in support thereof, states

  as follows:

         1.       On or before November 11, 2022, CNN intends to file its Motions in Limine in this

  matter. See Order Rescheduling Trial [D.E. 185], as amending Order Setting Trial and Pre-Trial

  Scheduling [D.E. 34]. Pursuant to this Court’s Order:

                  Each party is limited to filing one motion in limine. If all evidentiary issues
                  cannot be addressed in a 20-page memorandum, the parties may seek
                  leave to exceed the page limit. [D.E. 34], Emphasis Added.

         2.       Because of the number of issues presented in such motion, CNN expects that its

  Motions in Limine will need to exceed the limitation of 20 pages as set forth in Rule 7.1(c)(2),

  S.D. Fla. L. R. and Order Setting Trial [D.E. 34], as further modified by this Court’s Notice of

  Court Practice (ECF No. 4), which requires that legal memoranda use double spacing.
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         3.      Specifically, in this action, Plaintiff, ALAN DERSHOWITZ (“Plaintiff” or

  “Dershowitz”) has alleged that CNN defamed him by commenting on and airing excerpts of

  statements he made on the floor of the Senate in response to a question from Senator Ted Cruz

  during the impeachment trial of President Donald Trump in January 2020.

         4.      Because this is a defamation action, CNN intends to address numerous issues in its

  Motion in Limine, including but not limited to (i) how and when the jury will be instructed on the

  law of defamation; (ii) how and when the jury watches the three television segments and reviews

  the full opinion article that contain the alleged defamatory statements; (iii) references to other

  unrelated lawsuits against and/or controversies regarding CNN (iv) the admissibility of third party

  journalistic standards; (v) the meaning of the alleged defamatory statements; and (vi) evidence of

  Plaintiff’s alleged damages.

         5.      In addition, because Plaintiff is an admitted public figure, CNN will also likely

  address in its Motions in Limine issues regarding the Plaintiff that are prejudicial to CNN and/or

  immaterial to this matter.

         6.      The parties have met and conferred on CNN’s proposed Motions in Limine, and,

  while it seems likely they will be able to agree on some of these issues before trial, they were not

  able to reach agreement on the issues at this time.

         7.      Accordingly, it is in the interest of judicial economy to allow CNN to exceed the

  page limitations set forth in Local Rule 7.1 and this Court’s Trial Order, and that the Court permit

  CNN to file its Motions in Limine not to exceed 25 pages in length.

         8.      Pursuant to S.D. Fla. L.R. 7.1(a)(3), the undersigned hereby certifies that counsel

  for CNN has conferred with Plaintiff’s counsel in a good faith effort to resolve the issues raised in




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  this motion. Plaintiff’s counsel advised on November 9, 2022 that he consents to the relief

  requested herein.

         WHEREFORE, CABLE NEWS NETWORK requests that the Court extend the page

  limitations for its Motion in Limine, as requested herein and grant any additional relief as is just,

  equitable and proper.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed and

  served via the Court’s CM/ECF portal on this 9th day of November 2022 to Mark Schweickert,

  Esq., mark@schweikertlaw.com, Schweickert Law, 1111 Brickell Avenue, Suite 1550, Miami,

  Florida 33131, and John B. Williams, Esq., jbwilliams@williamslopatto.com, Williams Lopatto

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